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             14
                                       IN THE UNITED STATES DISTRICT COURTS
             15                       FOR THE EASTERN DISTRICT OF CALIFORNIA
             16                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             17
                               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             18
                  RALPH COLEMAN, et al.,                                )   No.: Civ S 90-0520 LKK-JFM P
             19                                                         )
                                Plaintiffs,                             )   THREE-JUDGE COURT
             20                                                         )
                        vs.                                             )
             21                                                         )
                  ARNOLD SCHWARZENEGGER, et al.,                        )
             22                                                         )
                                Defendants                              )
             23                                                         )
                  MARCIANO PLATA ,et al.,                               )   No. C01-1351 TEH
             24                                                         )
                                Plaintiffs,                             )   THREE-JUDGE COURT
             25         vs.                                             )
                                                                        )
             26 ARNOLD SCHWARZENEGGER, et al.,                          )   PLAINTIFFS’ SUPPLEMENTAL BRIEF
                                                                        )   IN SUPPORT OF MOTION FOR
             27         vs.                                             )   DISCOVERY SANCTIONS
                                Defendants                              )
             28

                                  PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
[233858-1]                                            NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
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              1   I.     INTRODUCTION
              2          On August 12, 2008, Plaintiffs filed a Motion for Discovery Sanctions for Improper
              3   Withholding of Non-Privileged Documents. Coleman Docket No. (“Dkt.”) 2937. This
              4   Motion is currently scheduled to be heard on August 20, 2008 at 2 p.m. Dkt. 2959. The
              5   parties have met and conferred, and the issues raised in the Motion have been narrowed. See
              6   Declaration of Maria V. Morris in Support of Supplemental Brief (“Supp. Morris Decl.”), filed
              7   herewith, Exs. 1, 2. This brief sets forth the documents that are no longer in dispute, and
              8   addresses the issues that remain.
              9
                  II.    PLAINTIFFS’ REMAINING CHALLENGES TO THE RECENT PRIVILEGE
             10          LOGS
             11          For the Court’s convenience, Plaintiffs provide the following listing of which
             12   documents Defendants have now agreed to produce, and which documents they have not
             13   agreed to produce and hence remain at issue. In addition, Plaintiffs address the newly
             14   discovered inaccuracy of the August 5, 2008 privilege log and the continuing appropriateness
             15   of sanctions for Defendants’ improper withholding of documents.
             16          A.     Documents that will be produced:
             17          Defendants have represented to Plaintiffs that the following documents challenged by
             18   Plaintiffs will be produced by August 20, 2008:
             19                 1.     From the June 10, 2008 log:
             20          All documents withheld solely on the basis of the deliberative process privilege; and
             21          Documents bearing the Bates Numbers E0100006, E0100051, E0100052, E0100074,
             22   E0100075, E0100143-E0100147, E0100226-E0100228, E0100281, E0100317-E0100318,
             23   E0100347-E0100350, and E0100352. Supp. Morris Decl. Ex. 1.
             24                 2.     From the August 5, 2008 log:
             25          Documents listed on the log as entries 300, 358, 369, 371. Supp. Morris Decl. Ex. 2.
             26          B.     Documents that Are Still Subject to Challenge
             27          Documents challenged in Plaintiffs’ Motion for Discovery Sanctions that Defendants
             28   have not agreed to produce are as follows:
                                                                       -1-
                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1                  1.     From the June 10, 2008 log:
              2           Documents bearing the Bates Numbers E00100148, E00100274-2761, E00100278,
              3   E00100315, E00100316 and E00100346. Supp. Morris Decl. Ex. 1.
              4                  2.     From the August 5, 2008 log:
              5           All documents withheld on the basis of the deliberative process privilege. Each of these
              6   assertions is challenged on the grounds that plaintiffs’ need for the documents is greater than
              7   defendants’ interest in withholding the documents, overcoming the qualified privilege. In
              8   addition, Plaintiffs challenge the assertion of deliberative process privilege over all the
              9   documents on the log because the declarations submitted contain many of the same
             10   deficiencies as the declarations previously held to be inadequate. Plaintiffs also challenge the
             11   assertion of the privilege over documents listed as 73, 78-82, 90, 219-224, and 342-345
             12   because the documents do not appear to be predecisional.
             13           Plaintiffs continue to challenge the assertion of privilege over documents withheld
             14   under the attorney client privilege, including documents listed as 4, 364-3662, 171, 187-190,
             15   and 195.
             16           Finally, Plaintiffs challenge the assertions of privilege throughout the log as too
             17   conclusory to justify the assertions of privilege. The descriptions are vague, and many entries
             18   list only agencies as either authors or recipients or both.
             19           The arguments regarding the challenges described above are set forth in the original
             20   Motion.
             21
             22
             23
             24
                  1
             25    The Motion erroneously challenged documents E0100277-E0100280. These documents have
                  not been withheld. Dkt. 2937 at 22.
             26   2
                   Defendants have acknowledged that the author and recipient on the log for these three entries
             27   do not include an attorney, but have stated to Plaintiffs that the documents were sent to an
                  attorney. Supp. Morris Decl. ¶ 2.
             28
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                                  PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1
                         C.     Defendants’ August 5, 2008 Log Cannot Support Assertions of Privilege Due
              2                 to Its Apparent Inaccuracy
              3          Over the course of the meet and confer, Plaintiffs have learned that many of the entries
              4   on the log are inaccurate. Of the 17 documents on the August 5, 2008 log that the parties
              5   specifically individually reviewed over the telephone, 8 – or 47% – have incomplete or
              6   inaccurate listings of recipients and/or authors.3 In light of this high rate of inaccuracy,
              7   Plaintiffs have requested that Defendants review the log and the documents and verify the
              8   individuals listed for each entry. Defendants have declined to do so. Supp. Morris Decl. Ex. 1.
              9          Plaintiffs tailored the challenges to documents that, on the face of the log, did not
             10   appear to meet the requirements of the privileges asserted. One of those challenges already
             11   resulted in an agreement that documents should be produced, based in part on information that
             12   was not included on the log. The document at entry 358 was listed as having Amy Jarvis as the
             13   author and Benjamin Rice as the sole recipient. See Morris Decl. Ex. I (Doc. 358). During the
             14   meet and confer, it was revealed that the actual author was Michael Genest and the recipient
             15   was Robert Sillen, not someone within the asserted privileges. Supp. Morris Decl. ¶ 2. This
             16   document is going to be produced in part because of the information that was not challenged
             17   but, upon inspection, was incorrect – the author and recipient.
             18          Having a sample with an error rate of 47% on the basic and objective fields of author
             19   and recipient casts serious doubt on the entire log. Since compiling the log, it appears that
             20   Defendants have not looked at the documents other than ones for which Plaintiffs challenged
             21   the attorney-client privilege. Supp. Morris Decl. ¶ 5. It is therefore impossible for Defendants
             22   to represent to the Court or to Plaintiffs that the many documents for which Plaintiffs did not
             23   challenge the attorney-client designation, and for the documents withheld only under other
             24   privileges, that there are no recipients (or authors) that destroy the privilege asserted.
             25
             26
             27
             28
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                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1
                         D.     Defendants’ Agreement to Produce Improperly Withheld Documents Does
              2                 Not Obviate the Request for Sanctions
              3          Defendants have now agreed that they cannot withhold documents under the
              4   deliberative process privilege without having had the documents reviewed at the time the
              5   assertions of the privilege were made. Supp. Morris Decl. Ex. 1. However, during the meet
              6   and confer prior to the filing of the motion, Defendants would not state whether there were in
              7   fact declarations to support the assertion of the privilege in the June 10, 2008 log. Morris Decl.
              8   ¶ 8. By refusing to answer the question, or withdraw the assertions of privilege when they
              9   realized there were no supporting declarations, Defendants forced Plaintiffs to brief the issue to
             10   the Court, spending resources and time.
             11          Similarly, Defendants have now agreed that there is no basis for withholding a
             12   document that happens to be attached to a privileged e-mail. Supp. Morris Decl. Ex. 2.
             13   However, during the earlier meet and confer, Defendants took the position, apparently without
             14   actually looking at the documents involved, that such documents were privileged by virtue of
             15   having been attached to a privileged communication. Morris Decl. ¶ 12. Again, by taking an
             16   unreasonable position, Defendants have forced Plaintiffs and this Court to spend resources and
             17   time on this issue. Further, this adds to Defendants’ ongoing delays in producing responsive
             18   documents even as the discovery cut-off approaches.
             19          Defendants’ unreasonableness prior to the filing of the motion, and the continuing
             20   assertion of privileges that cannot reasonably be expected to be upheld, given earlier rulings in
             21   this case should be viewed as dilatory and obstructionist. Defendants’ should be sanctioned for
             22   their improper withholding of documents listed on the June 10, 2008 and August 5, 2008
             23   privilege logs.
             24   III.   DEFENDANTS’ PRODUCTION OF TIFF FILES WAS IMPROPER AND
                         SHOULD BE SANCTIONED
             25
                         A.     Plaintiffs Have Been Prejudiced by the Production of Documents as TIFF
             26                 Files
             27          Finally, Plaintiffs are prejudiced by Defendants long delay in production, coupled with
             28   the alteration in the format in violation of the Stipulation. Plaintiffs have to pay additional
                                                                    -4-
                                    PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1   costs to have TIFF files loaded into a searchable form. See Dkt. 2939; see also Supp. Morris
              2   Decl. ¶ 6. The conversion also takes additional time. Dkt. 2939. Because of the timing of the
              3   production, and the urgency for starting review of the documents, the documents had to be
              4   converted in a manner that lost much of the information that would be valuable to Plaintiffs,
              5   had the documents been produced as it had been stipulated they would be, or had they been
              6   timely produced following the orders to produce them. Supp. Morris Decl. ¶ 7. For example,
              7   had the documents been produced in native format, Plaintiffs would be able to sort
              8   spreadsheets in a variety of ways, gleaning information from the process. However, TIFF files
              9   – even once converted into searchable forms – cannot support the functions of the original
             10   files. Supp. Morris Decl. ¶ 8.
             11          Further, Plaintiffs must spend more time reviewing documents than they would had the
             12   documents been produced in the agreed format. For example, searching for e-mails from Jim
             13   Tilton would be an easy, automatic search with native files. With TIFF files, once converted
             14   into a readable format, Plaintiffs can search for Mr. Tilton’s name, but the fields for the type of
             15   document and the author are less reliable than they would be had the document been produced
             16   in native format, requiring more extensive searching by Plaintiffs. Supp. Morris Decl. ¶ 9.
             17   Had the documents been timely produced, Plaintiffs would have been able to go through the
             18   time-consuming process of having the codes (author, recipient, type of document, etc.) entered
             19   into the database by persons looking at the face of the document. However, because these
             20   documents came so late in the litigation, Plaintiffs have been unable to do this. Supp. Morris
             21   Decl. ¶¶6-7.
             22          Moreover, the search function itself is limited with TIFF files. As noted in the case
             23   cited and submitted by Defendants, documents produced in TIFF format and then converted
             24   into a searchable form can be searched only “imperfectly.” In re ATM FEE Antitrust
             25   Litigation, 2007 U.S. Dist. LEXIS 47943, *27 (N.D. Cal. June 25, 2007). Defendants’ reliance
             26   on this case to show that Plaintiffs are not entitled to the native file documents is misplaced. In
             27   In re ATM Fee Antitrust Litigation, the parties had agreed to production of TIFF files. This is
             28   not the case here. See infra, § III.B.
                                                                       -5-
                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1          Plaintiffs have been prejudiced by the delay in production, the format of production and
              2   by the combination of the two. Defendants should be sanctioned for their obstructionist
              3   practices.
              4
                         B.     Defendants Agreed to Produce in Native Format, and that Agreement Never
              5                 Changed
              6          Defendants admit that they agreed in the November 2, 2007 Stipulation that documents
              7   responsive to Plaintiffs’ First and Second Requests for Production of Documents would be
              8   produced in “native + image” format, and that they have not done so. Dkt. 2955 at 1-2. The
              9   documents that were produced on August 11, 2008, were documents responsive to Plaintiffs’
             10   Plaintiffs’ First and Second Requests for Production of Documents. These were documents
             11   that were withheld from the original productions responsive to these requests, and were then
             12   ordered produced. See Dkt. 2680 at 7 of 43.
             13          Defendants claim that Plaintiffs agreed to production in TIFF format. Dkt. 2955 at 1-2.
             14   However, the transcript they have provided as evidence of this shows only that Plaintiffs
             15   agreed that documents could be redacted; it says nothing about changing the format of the
             16   documents, thereby stripping them of significant amounts of non-privileged information. See
             17   Dkt. 2956, Ex. A. Moreover, Defendants acknowledge that they only confirmed through a
             18   discussion with their vendor on August 20 (sic), 2008 that redactions could be made on TIFF
             19   files, but not on native format files. Dkt. 2956, ¶ 3. If Defendants only confirmed this
             20   information in the course of this briefing, their assertion that Plaintiffs accepted a change to the
             21   format of the production by accepting that documents could be redacted is simply not
             22   reasonable.
             23          Defendants further claim that Plaintiffs agreed to production in TIFF format in a
             24   December 19, 2007 discovery conference. Dkt. 2957. The Order resulting from this discovery
             25   conference makes no mention of redaction or format for production. Dkt. 2621. Further,
             26   Plaintiffs’ counsel do not recall any such discussion. See Declaration of Lori Rifkin In Support
             27   of Motion for Discovery Sanctions, ¶¶2-3. To the contrary, the only issue of format discussed
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                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1   was whether Defendants would produce the privilege log itself in native format (i.e., excel).
              2   Id.
              3           There is clear evidence that Defendants did agree to produce these documents that are
              4   responsive to the First and Second Requests for Production of Documents in native + image
              5   files. There is no evidence that this agreement ever changed. The documents should have
              6   been produced as native format files.
              7
                          C.       Defendants’ Concerns About Revealing Additional Privileged Documents
              8                    Do Not Justify the Alteration of the Documents
              9           Defendants assert that the reason for producing documents in TIFF is to avoid
             10   producing other documents that the Court did not order produced. This argument is
             11   unpersuasive.
             12           First, during the hearing on August 13, 2008, Defendants represented that they could
             13   produce the documents in native format by August 22, 2008. Supp. Morris Decl., Ex. 3. This
             14   shows that they can do it, but decided not to. Had they timely produced the documents, or told
             15   Plaintiffs that they would when Plaintiffs raised the issue on August 11, 2008, this issue could
             16   likely have been resolved without Court intervention.
             17           Second, there is an executed clawback agreement in this case, designed to make the
             18   return of inadvertently produced privileged documents an orderly and regulated process. Dkt.
             19   2583, Ex. O. If Defendants produce the documents in the form in which they agreed to
             20   produce them, and this results in the production of privileged documents that should not be
             21   produced, the clawback agreement provides protection of the document and a mechanism for
             22   its retrieval.
             23           //
             24           //
             25           //
             26           //
             27           //
             28
                                                                         -7-
                                   PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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              1          Because Defendants delayed so long in producing the non-privileged documents, and
              2   because they then produced them in a format that stripped them of significant functionality and
              3   information, Plaintiffs have been prejudiced. Defendants should be sanctioned for their
              4   disregard for the Court’s Orders and for the Stipulation regarding the format of the production.
              5
              6   Dated: August 19, 2008                                  Respectfully submitted,
              7
              8
                                                                          /s/ Maria V. Morris
              9                                                           Maria V. Morris
                                                                          Rosen, Bien & Galvan
             10                                                           Attorneys for Coleman Plaintiffs and on
                                                                          Behalf of Plata Plaintiffs
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                                 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR DISCOVERY SANCTIONS,
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